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                   IN THE UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF INDIANA
                           SOUTH BEND DIVISION


JONATHAN FERGUSON,             )
                               )
      Plaintiff,               )
                               )
v.                             )             CASE NO. 3:13CV417-JVB-JEM
                               )
CIVIL CITY OF SOUTH BEND,      )
INDIANA; PETE BUTTIGIEG,       )
MAYOR; CHARLES HURLEY,         )
Interim Chief of Police of the )
SOUTH BEND POLICE              )
DEPARTMENT; PATROLMAN ERIC )
MENTZ; PFC MICHAEL STUK;       )
AND OFFICER AARON KNEPPER, )
                               )
      Defendants.              )


                 STIPULATION FOR VOLUNTARY DISMISSAL

      Plaintiff and Defendants, by counsel, hereby stipulate to the dismissal of this

action with prejudice pursuant to F.R.C.P 41(a)(1), with each party bearing its own

costs and attorney fees.


  /s/ Johnny W. Ulmer                         /s/ Peter J. Agostino
Johnny W. Ulmer                              Peter J. Agostino        (#10765-71)
Ulmer Law Offices, Inc.                      Stephanie L. Nemeth      (#25721-71)
P.O. Box 866                                 Anderson Agostino & Keller, P.C.
Bristol, IN 46507                            131 South Taylor Street
                                             South Bend, IN 46601
Richard E. Bryant
1333 West Lusher Ave.                        Attorneys for Defendants
Elkhart, IN 46517

Attorneys for Plaintiff
